     Case 4:17-cv-05033-SAB     ECF No. 93    filed 04/08/19   PageID.1025 Page 1 of 8
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 3
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 7     Attorneys for Defendant
 8
 9                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WASHINGTON
10
11     JACLYN RAE SLEATER, and others, )            NO. 4:17-cv-05033-SAB
                                       )
12
                    Plaintiff,         )            DEFENDANT'S REPLY
13                                     )            STATEMENT OF MATERIAL
14
       v.                              )            FACTS NOT IN DISPUTE
                                       )
15     BENTON COUNTY, a municipal      )
16     corporation,                    )
                                       )
17                  Defendant.         )
18                                     )
19           Pursuant to Local Rule 56(c)(1)(C), defendant submits the following
20
       reply statement of material facts not in dispute:
21
22           1.     Defendant's Material Fact No. 2. Defendant's Statement of
23
       Material Fact ("SOF") 2 is supported by the Declaration of Josie Delvin in
24
       Support of Supplemental Briefing on Motions Re Class Certification, at
25
26     paragraph 7. (ECF No. 62, ¶ 7) ("The policy governing the issuance of bench
27
28
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       warrants for the nonpayment of legal financial obligations ("LFOs") was
 4
 5     established by the Benton County Superior Court judges.").

 6           Contrary to the plaintiff's assertion, Ms. Delvin's deposition testimony is
 7
       consistent with Defendant's SOF 2. Ms. Delvin testified that various officials
 8
 9     at Benton County, including the Clerk's Office and the Superior Court judges,
10
       were involved in some aspects of the collection of LFOs. (See ECF No. 90-1,
11
       at p. 9). This is not evidence that the judges did not have final decisionmaking
12
13     authority on the issuance of warrants relating to LFOs. During her deposition,
14
       Ms. Delvin was clear that the policies regarding warrants were determined by
15
16     the Benton County Superior Court judges:

17           Question:    So just to be clear, it was your office that requested this
18                        arrest -- this arrest warrant to be issued?
19           Answer:      Under the direction of the judge, yes.
20
             Question:    How does that work under the direction of the judge; what
21                        does that mean?
22
             Answer:      That means that was the process that the judges wanted us
23
                          to take for the collection of LFOs.
24
             Question:    But you didn't take each warrant to the judge and say
25
                          "Please sign this warrant"? The judge kind of pre-approves
26                        through your office to issue the warrant; is that correct?
27
             Answer:      Judges don't sign bench warrants.
28
29
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             Question:    Right. So when you say "under the direction of the judge,"
 4                        you mean the judge approved the form in advance for your
 5                        office to fill out and issue upon your discretion?

 6           Answer:      The form and the process.
 7
             Question:    Okay. And the process being what?
 8
 9           Answer:      When people failed to pay, we would issue a warrant. (ECF
                          No. 63-1, at 24:2-20) (emphasis added).
10
11           In light of the record of evidence in this case, the Plaintiff’s assertion
12
       that the lack of written policies on LFOs makes it “impossible to determine if
13
       the policy originated from the judges or elsewhere” is improper legal argument
14
15     unsupported by record evidence. This argument does not satisfy the
16
       requirement of Fed. R. Civ. P. 56(c)(1) that a party disputing a factual
17
18     contention cite evidence in the record. Id.
19           The Plaintiff's assertion that "judges do not generally make decisions in
20
       their judicial capacity without leaving a written record" is improper legal
21
22     argument unsupported by record evidence. This argument does not satisfy the
23
       requirement of Fed. R. Civ. P. 56(c)(1) that a party disputing a factual
24
       contention cite evidence in the record. Id.
25
26           The Plaintiff’s assertion that “subsequent changes to the policies were
27
       made with these same parties participating in the decision” is vague and
28
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       imprecise to such an extent that it is essentially no more than legal argument
 4
 5     unsupported by record evidence. This argument does not satisfy the

 6     requirement of Fed. R. Civ. P. 56(c)(1) that a party disputing a factual
 7
       contention cite evidence in the record. Id. To the extent that a “subsequent
 8
 9     change” to the policy was the cessation of issuing warrants without first issuing
10
       a summons or other court directive to appear at a hearing, this change was
11
       made because the Court of Appeals in State v. Sleater found this to be
12
13     unconstitutional.
14
             2.     Defendant's Material Fact No. 3. Defendant's SOF 3 is
15
16     uncontroverted. Ms. Delvin testified during her deposition that she has

17     policymaking authority for the Benton County Clerk's Office with respect to
18
       some but not all policies. (ECF No. 90-1, at 8:25). The Plaintiff's argument
19
20     that Ms. Delvin "did not testify that she was prohibited from doing these things
21     by the judges" does not accurately portray Ms. Delvin's deposition testimony
22
       because she was not asked such a question.
23
24           Ms. Delvin was clear that the issuance of warrants was pursuant to a
25
       process approved by the Benton County Superior Court Judges. (ECF No. 63-
26
27
       1, at 24:2-20). The statement by Ms. Delvin in her declaration that the Benton

28     County Clerk's Office "would not have issued bench warrants on its own
29
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       initiative or in any manner inconsistent with the judges' decision on when and
 4
 5     under what circumstances a bench warrant should issue for LFO nonpayment"

 6     (ECF No. 62, ¶ 7) is consistent with the foregoing deposition testimony.
 7
             The argument by the Plaintiff about the scope of Ms. Delvin's authority
 8
 9     is also unsupported by record evidence. Ms. Delvin has acknowledged that in
10
       her capacity as Benton County Clerk she makes some policies relating to the
11
       administration of LFOs, including collection procedures for non-payment.
12
13     (ECF No. 62, ¶ 11). However, at no time did Ms. Delvin or the Benton County
14
       Clerk's Office "establish or decide any policy relating to circumstances under
15
16     which the judges of the Benton County Superior Court would authorize arrest

17     warrants for LFO non-payment." (Id., ¶ 12). It is likewise undisputed that
18
       neither Ms. Delvin nor the Benton County Clerk's Office established or
19
20     decided "any policy on whether such warrants should be issued by [the Benton
21     County Clerk's Office] without first issuing a summons or other court directive
22
       to appear at a hearing." (Id.).
23
24           3.     Defendant's Material Fact No. 6. Defendant's SOF 6 is
25
       uncontroverted for many of the same reasons that Defendant's SOF 3 is
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27
       uncontroverted. The summary judgment record is uncontroverted that the

28     policy relating to the issuance of warrants for non-payment of LFOs without
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     Case 4:17-cv-05033-SAB    ECF No. 93    filed 04/08/19   PageID.1030 Page 6 of 8
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       first issuing a summons or other court directive to appear for a hearing "was
 4
 5     the decision of the judges, and principally the decision of Judge Swisher."

 6     (ECF No. 62, ¶ 12).
 7
             4.     Defendant's Material Fact No. 8. Defendant's SOF 8 is
 8
 9     uncontroverted for the same reasons that Defendant's SOFs 3 and 6 are
10
       uncontroverted.
11
             5.     Defendant's Material Fact No. 9. Defendant's SOF 9 is
12
13     consistent with Ms. Delvin's deposition testimony and supported by her
14
       declaration. It does not follow from the mere fact that various officials within
15
16     Benton County were involved in the collection of LFOs that the process by

17     which warrants were issued for non-payment of LFOs was not ultimately
18
       established by the Benton County Superior Court judges. The summary
19
20     judgment record is uncontroverted that the duties of Ms. Delvin in her capacity
21     as Benton County Clerk, and the Benton County Clerk's Office more broadly,
22
       "do not now and have never at any material time extended to the conduct or
23
24     decisions of judges in instances of judicial authority, judicial decisionmaking,
25
       or other court action, which includes here the policy choice to direct issuance
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27
       of bench warrants for collection of LFOs from non-paying offenders without

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       first issuing a summons or other court directive to appear at a hearing." (ECF
 4
 5     No. 62, ¶ 13).

 6           6.     Defendant's Material Fact No. 11. Defendant's SOF 11 is
 7
       uncontroverted for the same reasons that Defendant's SOF 9 is uncontroverted.
 8
 9           DATED THIS 8th day of April, 2019.
10
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 3
                                  CERTIFICATE OF SERVICE
 4
 5           I hereby certify that on April 8, 2019, I filed the foregoing with the Clerk

 6     of the Court using the CM/ECF System, which will send notification of such
 7
       filing to the following:
 8
 9     Mr. Breean L. Beggs                     Bbeggs@pt-law.com
       Mr. Andrew S. Biviano                   abiviano@pt-law.com
10
11     and I hereby certify that I have mailed by United States Postal Service the
12
       document to the following non-CM/ECF participants:
13
             None.
14
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